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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, ET AL.,  )
                                   )
          Plaintiffs,              )
                                   )         CV No. 20-3010
       vs.                         )         Washington, D.C.
                                   )         December 18, 2020
GOOGLE LLC,                        )         11:00 a.m.
                                   )
          Defendant.               )
___________________________________)


                      TRANSCRIPT OF
     STATUS CONFERENCE VIA TELECONFERENCE PROCEEDINGS
            BEFORE THE HONORABLE AMIT P. MEHTA
               UNITED STATES DISTRICT JUDGE


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1                          P R O C E E D I N G S

2                THE COURT:   Hi.   Good morning, everyone.

3                DEPUTY CLERK:   Good morning, Your Honor.

4                This is Civil Action 20-3010, United States of

5    America, et al., versus Google LLC.

6                Kenneth Dintzer, Tom Greene, Michael McClellan

7    Chaim Cohen, Elizabeth Jensen, Jesus Alvarado-Rivera,

8    Ryan Sandrock, Jeremy Goldstein, Daniel Principato,

9    Christine Sommer for the United States of America.

10               R. Scott Palmer for Plaintiff State of Florida.

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14               Justin Clark for the Commonwealth of Kentucky.

15               Kimberly Biagioli for the State of Missouri.

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1                Joseph Conrad for the State of Nebraska.

2                Bret Fulkerson for the State of Texas.

3                On behalf of Defendant Google, John Schmidtlein,

4    Franklin Rubinstein, Mark Popofsky, and Susan Creighton.

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6                Amy Ray for Non-Party Microsoft.

7                John Jurata for Sonos, Inc.

8                Stephen Nickelsburg for Oracle.

9                Michael Kipling and Marjorie Walter for T-Mobile

10   USA, Inc.

11               Megan Gray for DuckDuckGo, Inc.

12               Richard Parker for Amazon.

13               James Sadowski for GroupM Worldwide LLC.

14               And Steven Sunshine and Joseph Rancour for Apple,

15   Inc.

16               THE COURT:   Okay.   Good morning, everybody.

17   I hope we didn't forget anybody in that intro.         I hope

18   everybody is doing well.

19               All right.   So we are gathered today to sort of

20   put the final touches on both the protective order and the

21   scheduling order.

22               Let me just sort of preview what is on my agenda

23   here to discuss today; and then if there's anything any of

24   the parties want to raise, then obviously we should deal

25   with that.
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                                                                       12

1               I want to go with the protective order first, and

2    that includes the short filing by the non-parties concerning

3    the manner in which to designate highly confidential

4    information.

5               And then I want to go over sort of the remaining

6    disputes on the scheduling order.

7               And then there are the outstanding motions for

8    joinder by California, Michigan, and Wisconsin, although

9    I think Google's filing, I think it was yesterday or maybe

10   even this morning, essentially resolves that issue.

11              And then I want to just have a discussion about

12   the latest action that was filed be the various attorneys

13   general that sort of expand the basis -- or builds on and

14   expands the theories of liability from those that are at

15   issue in this action.

16              So let's start with the protective order, if we

17   can.   I'm pleased to hear and find that the parties had

18   worked together to resolve what were the issues we dealt

19   with last time and the most intractable or seemingly

20   intractable, which was this two-tier of confidentiality and

21   a proper designation -- a definition for the term "highly

22   confidential information."      I appreciate that the parties

23   have put pen to paper and been able to cooperate and come up

24   with an agreement.

25              I will say that I'm fine with it.       I appreciate
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                                                                       13

1    the efforts.   It all looks good me to and it's consistent

2    with what my concerns were and addressed those concerns.

3               As I've gone back through the stipulated

4    protective order, I found a couple of issues I just wanted

5    to raise with the parties.      None are terribly significant,

6    but I wanted to just flag them for you so that there are no

7    challenges or difficulties down the road.

8               The first concerns the definition of in-house

9    counsel, which is found at paragraph A1(h).        And that

10   definition is the paid lawyer employed by defendants, as

11   well as paralegals, secretaries, and clerical and

12   administrative personnel.

13              I wanted to -- that struck me as too broad.

14   I thought we were all in agreement, or at least as I

15   understood the definition of "in-house counsel,"

16   particularly since in-house counsel would have access to

17   material that's designated as confidential and then

18   potentially upon a showing by consent, have access to highly

19   confidential information, that in-house counsel, for

20   purposes of this protective order, would only be the two

21   in-house counsel that Google designates and which definition

22   it seems to encompass more people than that.

23              So let me turn to government counsel,

24   Mr. Schmidtlein, and get your reaction to that, whether you

25   all -- whether I'm misreading that or whether that needs to
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                                                                        14

1    be amended in some way.

2                Mr. Dintzer.

3                MR. GREENE:    Oh.    Tom Greene, Your Honor.

4                THE COURT:    I'm sorry.    Mr. Greene, yes.

5                MR. GREENE:    Yeah.    I'm sorry.

6                I think that does need to be amended.       I mean, the

7    focus of this throughout has been in-house counsel; that is,

8    these two specific lawyers.        So I think that may be overly

9    broad.    So certainly we would support slicing off that last

10   clause, "paralegals, secretaries, clerical, and

11   administrative personnel."

12               THE COURT:    Okay.

13               I mean, it seems to me it ought to say something

14   to the effect of "in-house counsel means" -- to something

15   narrower to be, "the lawyer" -- or "the lawyers employed by

16   defendant that have been identified and certified pursuant

17   to" what's, I think, "paragraph 12(d)," which is the

18   certification --

19               MR. DINTZER:    Yes, I understand what you're

20   saying.

21               THE COURT:    -- provision, as opposed to "any

22   lawyer employed by defendant."

23               MR. GREENE:    Yes, that makes sense to the

24   plaintiffs, Your Honor.

25               I turn it over to my colleague, Mr. Schmidtlein.
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                                                                       15

1               MR. SCHMIDTLEIN:      No objection, Your Honor.

2               THE COURT:    Okay.

3               All right.    So I'll just ask you all to modify

4    that, consistent with this discussion.

5               Next is the definition for "plaintiff states,"

6    which currently identify the plaintiff states as those that

7    appear on the joint -- the action from the outset, we've

8    since had briefs that seek to intervene and join as

9    plaintiffs.

10              In the interest of avoiding having to -- and I

11   don't know whether additional states may join this action.

12   But in the interest of having to avoid amending this

13   protective order each time a new state joins, perhaps we can

14   just add some language to the effect of -- that the

15   "'plaintiff states' includes the states that have been

16   identified and any other state that's permitted to join this

17   matter pursuant to the Federal Rules of Civil Procedure" or

18   words that effect.

19              MR. GREENE:    Sure.

20              This is Tom Greene, Your Honor.

21              Certainly for the plaintiffs, that would work.

22              Since we are going to adjust the section we just

23   chatted about, it might make sense to add California,

24   Michigan, and Wisconsin as named, and then add that general

25   language in addition.
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                                                                       16

1               Does that make sense?

2               THE COURT:    Right.    That makes sense.

3               Any objection to that, Mr. Schmidtlein?

4               MR. SCHMIDTLEIN:      No, Your Honor.

5               THE COURT:    Okay.

6               The third issue I wanted to raise with the

7    protective order concerns the -- well, let me go to the

8    smaller issue and then there's, again, perhaps, a larger

9    issue.   And that is, in paragraph 19, if I'm reading this

10   correctly, this is the paragraph that authorizes -- that

11   provides for objections to be made to the designated

12   in-house counsel.    And right now, it triggers objections --

13   the filing of objections from the date when Google

14   identifies who those people are.

15              Google's now done that and it did so, maybe it's

16   been more than ten days, I've certainly lost track of how

17   many days ago that was.     But I think the bottom line is that

18   that trigger ought to probably be from the entry of this

19   protective order, and ten days from that -- from that date,

20   which will probably be Monday, as opposed to the date that's

21   now passed and the ten days that have likely already

22   elapsed.

23              Any thoughts or objections to that modification?

24              MR. GREENE:    This is Tom Greene, Your Honor.

25              I think that's fine.
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                                                                         17

1               There is an additional -- not an additional

2    provision -- that was in our original proposal and isn't

3    here, which basically says that the defendants need to meet

4    and confer with the plaintiffs and the non-parties and

5    provide information about the proposed designees.         So that

6    might be -- we can certainly work with the date you're

7    suggesting, but it might make sense for that to -- for the

8    trigger to be that meet-and-confer session.

9               THE COURT:    Okay.

10              Well, I leave it to you all to work through the

11   mechanics.   But I understood -- well, the two in-house

12   counsel have been identified and disclosed.        And if memory

13   serves, there was some sort of biographical information

14   provided about those in-house counsel.

15              Are you expecting there to be further disclosures

16   about that -- about those two designees, or is what's been

17   provided so far sufficient and provide enough grounds to

18   lodge any objection that either the government or a third

19   party may have?

20              MR. GREENE:    Plaintiffs have requested some

21   additional information on the day-to-day activities of these

22   two individuals.    So we would like to see that information

23   before we -- in order to meaningfully address the Court with

24   respect to those two people.

25              THE COURT:    Okay.
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                                                                       18

1               Mr. Schmidtlein, your thoughts on sort of the

2    trigger date for the objections?

3               MR. SCHMIDTLEIN:      Your Honor, we had, in the

4    course of our meeting and conferring, we had, I think,

5    suggested that we had provided the identity of the

6    individuals.   And we had provided declarations from them

7    that provided adequate information.       And we asked the

8    government if they had any particular objections.         So

9    hearing that there's some request for additional information

10   today, we're happy to meet and confer with them.

11              But we do think that what you have suggested,

12   which would be ten days from the entry of the protective

13   order, I think, makes good sense.

14              THE COURT:    Okay.

15              Let's do this.    Since the entry of the

16   protective-order date is going to be a concrete date that

17   everybody will be aware of, both the parties and

18   non-parties, once it gets entered on the docket, let's use

19   that as the trigger date.

20              I'll assume that Mr. Schmidtlein will get whatever

21   additional information the plaintiffs are requesting in

22   short order, and that'll be well within the ten-day period.

23   That'll allow the government an opportunity -- well, the

24   plaintiffs an opportunity to lodge any objections, if they

25   intend to do that.
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                                                                        19

1               So let's modify paragraph 19 to reflect the entry

2    of the protective order as a trigger.

3               The last issue that --

4               MR. PARKER:    Your Honor -- excuse me, Your Honor.

5    This is Rich Parker on behalf of the designated third

6    parties.

7               Maybe I'm missing something, but I'm wondering if

8    we're now missing a procedure.      In case Mr. Schmidtlein and

9    his team want to change the designees from these folks to

10   somebody else, I'm not sure how that happens.

11              As I said, I could be missing something under this

12   order, but I don't think we have one.

13              MR. SCHMIDTLEIN:     Yeah.

14              I think, Mr. Parker, we have -- this is

15   Mr. Schmidtlein.

16              We have provided the two individuals.        If there

17   are objections or if the Court at some later time determines

18   that one of those -- or both of those individuals do not

19   meet the Court's qualification, we would then submit

20   additional names, and I think the ten-day process could

21   iterate again.

22              MR. PARKER:    But what I'm saying, Your Honor, is

23   that in case one of those folks decides to do something

24   else, another job and leaves or something and then they have

25   to substitute, what would be the procedure then?
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                                                                             20

1               THE COURT:    Well, that's a good question,

2    I suppose.

3               I mean, look, I think you all can -- if you feel

4    like it's useful to include some provision to that effect.

5               I mean, I would presume that something similar

6    along the lines of what's happening here would take place in

7    the event one of the two in-house counsel leaving, which is

8    that, you know, upon the announced departure, that Google

9    would name a new person, if it felt one needed to be named,

10   and sort of a ten-day period would start to run again.            And

11   if you all feel like you need to spell that out, by all

12   means, you should do so.     But it seems to me that the

13   parties should be able to proceed in that fashion.         I think

14   doing so would be consistent with the spirit of what the

15   protective order calls for.

16              All right.    So the only -- the other issue that I

17   wanted to raise concerning the protective order -- and I

18   have to confess, I may have just missed it, but I didn't see

19   a sanctions provision of the kind that had either been in

20   the prior draft but was certainly one that was included in

21   the protective order in Sysco for those in-house counsel,

22   and then I think we all have agreed that it would involve,

23   perhaps -- and plaintiffs' counsel as well, who had access

24   to confidential information or highly confidential

25   information.   And I wonder whether that was purposeful; and
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                                                                            21

1    if it was, it was as a result of the agreement of a more

2    limited disclosure of highly confidential information to

3    in-house lawyers.

4                But I mean, Mr. Greene, am I missing something?

5    Has that been dropped from here?

6                MR. GREENE:    Yes, Your Honor.

7                Yes, by agreement amongst the parties, consistent

8    with the two-tiered structure that is now the basis for this

9    protective order and consistent with prior practice with

10   respect to two-tier systems.      This doesn't include that

11   large financial penalty.

12               But we did do a couple things, I think, to

13   underscore the importance of compliance with the order.           So

14   there is a new -- Your Honor, of course, knows that you

15   are -- you have complete power to impose either civil or

16   criminal contempt on the individuals subject to the order

17   that violate the order.

18               But we included a new paragraph 3, it's the very

19   last one.    Essentially it reminds everyone subject to the

20   order that is --

21               THE COURT:    I'm sorry, Mr. Greene.    This is in

22   Appendix B?

23               MR. GREENE:    No, no.    This is the last section in

24   the actual order.

25               THE COURT:    Oh, okay.
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                                                                       22

1               MR. GREENE:    It reads, "All persons subject to the

2    order are reminded that this order may be enforced by the

3    Court's full powers of criminal and civil contempt."

4               We've also made a similar adjustment in the two

5    affidavits.    If you look at the paragraph 3 -- there are two

6    affidavits in the attachments -- and that also requires the

7    folks who are subject to the order, you know, the

8    consultants, the in-house counsel, that they are -- they

9    understand that they are subject to potential civil and

10   criminal contempt sanctions in the event that they violate

11   the order.    We thought collectively that that made a lot of

12   sense.

13              THE COURT:    Okay.

14              And, Mr. Parker, on behalf of the third parties

15   whose material there is -- on behalf of the third parties

16   whose material is subject to these provisions, are you

17   satisfied with these penalty provisions, essentially, that

18   are tied to the Court's inherent power?

19              MR. PARKER:    Yes, sir.    Yes, sir, we are.

20              THE COURT:    All right.    Well, fine.

21              And if everybody is okay with that and doesn't

22   feel like there's a need for something more, something

23   that's more spelled out as it was in Sysco, but I'm

24   comfortable with leaving it as is.

25              Okay.   The final issue -- those are the issues
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                                                                        23

1    that I had flagged in my review of the protective order.

2               Then there was the issue raised by the non-parties

3    in their submission concerning the designation of highly

4    confidential material on a document-by-document basis,

5    rather than a page-by-page basis.

6               Let me ask Mr. Schmidtlein and Mr. Greene what

7    your reaction to that is and whether -- let me get your

8    reaction to that.    And if it sort of alleviates the burden

9    on third parties, all the better, but I want to make sure it

10   provides -- doesn't create any unforeseen -- or at least any

11   issues that I'm not seeing by sort of lightening the load on

12   the parties or the non-parties.

13              MR. SCHMIDTLEIN:     Yes, Your Honor.    This is John

14   Schmidtlein.

15              We, I guess, in principle, are prepared to go

16   along with this.    But we continue not knowing -- and not

17   having seen the documents, we continue to have real concerns

18   and reservations, even under the terms that we've agreed to

19   here, that parties are going to over-designate.         And that we

20   are concerned that this type of mechanism will be used to

21   sort of blanket designate everything "highly confidential"

22   and somebody will point to a stray sentence or a stray

23   paragraph or something and say, well, that's highly

24   confidential in the whole document.

25              So we are not looking to create unnecessary
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1    burdens on the third parties here.       I understand; I've been

2    in that position before.     But we do continue to have these

3    concerns.    And, you know, we may well -- if the third

4    parties don't, you know, abide, I think, by the spirit and

5    the letter of this, I hope we're not back before Your Honor,

6    but that's certainly a possibility.

7                THE COURT:    Okay.

8                Mr. Greene.

9                MR. GREENE:   Tom Greene, Your Honor.

10               We think that this actually is a good idea.

11               We're talking about hundreds of thousands of

12   documents.    And particularly given the constraints of

13   technology, we think it makes sense to go document by

14   document.

15               But I would note two things with respect to the

16   proposal as we have seen it in the filing.        One is that

17   paragraph 10, which is the ability to object, remains.            So

18   assuming that if there is a disproportionality between the

19   confidential material versus the actually highly

20   confidential material that would be subject to that

21   provision.

22               The other aspect of this is looking well down the

23   road to trial exhibits.     I think for discovery purposes,

24   doing it on a document-by-document basis makes sense.

25   However, once we get to trial exhibits, it has to be as
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                                                                         25

1    narrow as possible.     And at that point in time, I would want

2    something that's much more granular.

3               But for this part of the process, this part of the

4    case, we would support this proposal.

5               THE COURT:    Okay.

6               All right.    Well, look, if there's no objection

7    from the parties to the third parties' proposal, then I'll

8    ask you all to incorporate that into the protective order.

9               Look, these documents are undoubtedly going to

10   come in a wide variety of different shapes and sizes.

11              And, you know, I'll just -- Mr. Parker, and those

12   of you who are representing third parties, you know, it's

13   difficult to game all this out, but I would just again, as

14   we've talked about in these two status hearings, you know,

15   be mindful about what you're designating.        And if there's a

16   sentence in a larger document that is deemed highly

17   confidential, then that's all that will be designated as

18   highly confidential, not the entire document.

19              You know, because there are obviously consequences

20   to those two designations that follow and we just need to be

21   mindful of that.    So hopefully, we can avoid too many

22   dust-ups over this, but we'll just have to wait and see once

23   the third parties have the opportunity to start making those

24   designations.

25              Okay.   With that, is there anything else on the
     Case 1:20-cv-03010-APM Document 88 Filed 12/22/20 Page 26 of 82

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1    protective order that anybody wants to raise or discuss this

2    morning?

3               MR. GREENE:    Your Honor, Tom Greene briefly on

4    timing.

5               Should we get you a new draft later this afternoon

6    or Monday morning?    What's your preference on that?

7               THE COURT:    Well, you know, if you can get me

8    something by -- you know, by noon on Monday.

9               And what I would suggest you do is just simply

10   send me a -- if you would just send a PDF to chambers, to my

11   law clerk.   And we'll ask you to do the same thing with the

12   Scheduling Order.    But just send a PDF with the file text to

13   my law clerk and then that way I can easily put my

14   electronic signature on it and get it docketed.

15              MR. GREENE:    Thank you, Your Honor.

16              THE COURT:    Okay.

17              MS. BLIZZARD:    Good morning, Your Honor.      Hi, this

18   is -- good morning, Your Honor.

19              THE COURT:    Good morning.

20              MS. BLIZZARD:    Hi.   Good morning.    This is

21   Paula Blizzard from California.

22              And thank you for noticing that the definition of

23   "plaintiff states" needed to be changed to have California,

24   Wisconsin, and Michigan.

25              And I just wanted to mention that there are
     Case 1:20-cv-03010-APM Document 88 Filed 12/22/20 Page 27 of 82

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1    several other places in the protective order where there are

2    lists of states or notice lists.       And so we will follow your

3    approach all the way through those other paragraphs as well.

4               So I just, assuming no objection from Google,

5    wanted to mention that there are several other places that

6    we will modify.    And, of course, we'll have no trouble

7    getting that all incorporated before noon on Monday.

8    Thank you.

9               THE COURT:    Yeah.   I noticed -- and I think the

10   same will have to be done, obviously, with the Case

11   Management Order which lists the various parties and

12   individuals that ought to be on service copies and the like.

13              MS. BLIZZARD:    Yes, Your Honor.     Exactly.    We will

14   plan to do that also.

15              THE COURT:    Okay.

16              All right.    So let's, then, move forward and talk

17   about the Scheduling Order.

18              The parties have also flagged three issues.            I've

19   flagged a few issues myself.      But let's start with the three

20   issues that are in dispute.

21              You know, I'm just going to go through the

22   first -- I think the easier of the two -- the easier of the

23   three, two of the three that, I think, are easily resolvable

24   and I don't think require a whole lot of discussion unless

25   anybody feels that they need to be heard, and that is the
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1    designation of eight 14-hour or two-day depositions and then

2    the reply briefs for experts.

3               You know, look, I'm inclined to permit the

4    designation of up to eight witness -- or eight 14-hour

5    depositions or, I guess, eight witnesses for 14 hours.

6    Given how sprawling this case is, frankly, because of the

7    fact that there are only eight of the many potential

8    witnesses here, it seems to me to be a reasonable request,

9    and, frankly, will save us all a lot of time and effort and

10   regularly having to come back to me to ask for leave.             And,

11   frankly, having eight as a target, will, I think, sharpen

12   the parties' focus in terms of how many people they actually

13   feel like a more-than-seven-hour deposition is required.            So

14   I will permit the designation of up to eight 14-hour

15   depositions.

16              In terms of replies for expert reports, I'll also

17   permit, and will build into the schedule, replies for the

18   expert reports.    I do think it may be useful to have those

19   just if for no other reason than to sharpen the issues, and,

20   frankly, I think it will be helpful for the parties to have

21   replies, and, at the end of the day, will probably provide

22   for a more -- a sharpening of the lines of inquiry during

23   depositions and ultimately trial.

24              The final disputed issue among the parties is the

25   disclosure of investigative materials.        Google's asked that
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1    those materials be disclosed within seven days of the entry

2    of the Case Management Order.

3               Let me ask first, Mr. Schmidtlein, how you

4    envision this working in two respects.        One is with respect

5    to any objections the government may have; in particular,

6    scope objections that the plaintiff may have.         It's noted

7    rightly that the investigative file that they've collected

8    includes material that is outside the scope of what

9    ultimately is the basis of the complaint here and how you

10   would anticipate the government dealing with that issue.

11              And then secondly, how this would work in terms of

12   timing when it comes to the designation of confidential and

13   highly confidential material and the party -- or third

14   parties' opportunity to object and seek a protective order.

15              I just -- I note that the Scheduling Order sort of

16   builds in 14 days for third parties to object or seek a

17   protective order when they're notified that their material

18   is being requested and then 60 days to designate that

19   material as highly confidential.

20              MR. SCHMIDTLEIN:     Your Honor, I guess on the issue

21   of objection to the scope, we've been given -- even though

22   we've been asking for this information for what seems like

23   the beginning of the case a couple of months ago, we haven't

24   been given any details about whether there are only

25   particular third parties who the government believes have
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1    information that is beyond somehow the scope of this case.

2               If there are particular third parties, they should

3    identify who those parties are, and they should identify for

4    us what particular materials or what subject matters they

5    believe are outside the scope.      And as to all of the

6    remaining materials that are within the scope, we think that

7    material should be processed and provided to us.         We don't

8    think that process should be delayed any further; they've

9    known we've had this request out there.

10              In terms of the designation of "confidential" or

11   "highly confidential," what we would propose is that this

12   information -- and I think this is in the proposal that we

13   made -- the information should be produced on an

14   outside-counsel basis expeditiously.       So any material that

15   is not objected to and may be produced now should be

16   produced on an outside-counsel-only basis, sort of treated

17   like highly confidential, if you will, and that third

18   parties, then, can have the time to make their designations,

19   and those designations can be applied retroactively and we

20   can move forward.

21              But what we really don't want to have is a

22   situation where we are months and months down the road in

23   this litigation and we still don't have access to these

24   materials.   And so that's the process that we would propose.

25              THE COURT:    Okay.
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1               I may not have my fingers on this, but there's

2    a -- someplace in here, there's a 14-day process to object

3    or seek a protective order by a third party.        How does

4    that -- sorry, I'm just looking for it; it's in the

5    protective order actually -- how does that affect your

6    thinking in terms of timing of disclosure?

7               I mean, you've asked for seven days, and I think

8    the protective order contains a 14-day provision that allows

9    a third party to object.

10              MR. SCHMIDTLEIN:     I'm sorry, which provision are

11   you referring to, Your Honor?

12              THE COURT:    I'm trying to get my hands on it.

13   I'm sorry.

14              Mr. Greene, do you know what I'm referring to?

15              MR. DINTZER:    Is that paragraph 8 in the

16   protective order, Your Honor?

17              This is Kenneth Dintzer.

18              THE COURT:    Yes, yes, yes, that's exactly it.

19   Thank you, Mr. Dintzer.

20              Paragraph 8 in the protective order, which appears

21   on page 11 of the ECF filing.

22              It provides that, "If a non-party fails to object

23   or seek a protective order from this Court within 14 days of

24   receiving notice and accompanying information, the

25   non-party's highly confidential information or confidential
     Case 1:20-cv-03010-APM Document 88 Filed 12/22/20 Page 32 of 82

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1    information responsive to the discovery request may be

2    produced."

3               So I mean, by the time of the protective order, it

4    seems like I've got to at least give 14 days to third

5    parties to object to the disclosure or seek some sort of

6    further protective order than what's already been put in

7    place.

8               MR. SCHMIDTLEIN:      Yeah.

9               I mean, I think that paragraph 8 deals with sort

10   of materials produced during the course of the litigation --

11   other materials; in other words, for purposes of what we

12   have asked for, we've asked for a very -- a somewhat

13   narrower set of materials in this sort of pre-discovery,

14   formal discovery request submission.

15              I think paragraph 8, it deals with sort of a

16   broader set.   So, for example, you know, we're asking for

17   particular -- very, very particularized information relating

18   only to the parties who are on the initial disclosures.           We

19   may ask for a broader set of information with respect to,

20   you know, other people or other documents or other

21   communications that go beyond what we're asking for right

22   now.   And I think paragraph 8 is designed to deal with

23   objections to that.

24              THE COURT:    Okay.

25              I mean, maybe I read it more narrowly than that;
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1    it'll apply even to this initial potential disclosure.

2               All right.    Well, Mr. Dintzer and Mr. Greene, I'm

3    happy -- thoughts, reactions.      I know you would like to see

4    this done in the ordinary course.

5               I will tell you that I understand the instinct to

6    want to do it that way.     On the other hand, you know, look,

7    this material is going to get produced, it's going to be

8    requested, it's going to be produced.       And it doesn't seem

9    to me -- well, it seems to me a good way in which to get

10   things going and ensuring that the defendants have the

11   material that sort of, perhaps, rests with the core of the

12   government's case so that we can get things started in a

13   productive and effective way.

14              MR. DINTZER:    Your Honor, this is Kenneth Dintzer.

15              So a couple things I would like to hit on.         The

16   first is that, just to clarify, when the defendants say,

17   "this request," they've actually changed the request, and,

18   to their credit, they've narrowed it.       But what we're

19   dealing with now in the various draft of the CMO is not the

20   request that they had earlier made, which was much broader.

21   And so it has been a moving target.       I just wanted to make

22   that point.

23              The second point, Your Honor, is that giving us

24   30 days to prepare objections, I mean, what my colleague has

25   described, where we have a chance to object and we have a
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1    chance to -- those are the exact things that the Federal

2    Rules provide 30 days to do.

3               And -- but by sort of baking them into the Case

4    Management Order, what we have is an order that we have to

5    do something, we have to produce these documents, as opposed

6    to -- and without any of this -- there's nothing spelled out

7    about the procedure about how that's supposed to be; it's

8    just a straight-up order from the Court about ordering us to

9    produce these documents.     So what he's described to you

10   today is not what he and the defendants have put in their

11   request and is not provided for in the request.

12              But beyond that, Your Honor, asking them to wait

13   the 30 days from the beginning of the case until we respond

14   to their document requests, I will represent to the Court

15   that on the 30th day when our objections are due, we will

16   begin a rolling production of the materials.        And so

17   Mr. Schmidtlein's concern about waiting months and months,

18   we will do two things:     We'll both begin production and

19   we will provide for a date for when the production will end.

20              What we would ask, Your Honor, is that

21   Mr. Schmidtlein provide us with a promise to do the same

22   about our document requests, because we have materials that

23   we were hoping to get from them, we were unable to get,

24   especially data, in the investigatory phase, and that they

25   know that we're interested in, and that we would be asking
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1    them on the first day of discovery, we will be expecting, or

2    very close to that, to send a request.        And that if they

3    have the same energy with producing materials to us, where

4    on the 30th day of our request when they give us their

5    objection, they begin productions to us.

6               But we -- so I think our representation to the

7    Court can take care of Mr. Schmidtlein's concern about

8    months and months.

9               THE COURT:    I'm sorry to interrupt.

10              When you say --

11              MR. DINTZER:    No.   Please.

12              THE COURT:    I'm sorry.    When you say, on that

13   "30th day," I mean, are you making a promise that the

14   material that's identified in paragraph 7 that's in the Case

15   Management Order that's spelled out there, that that's the

16   material you will produce on the 30th day, at a minimum, and

17   then maybe there's more, but...

18              MR. DINTZER:    So the stuff that -- the materials

19   identified in the CMO, what we would represent is that we

20   would begin production on that day and that we will have a

21   schedule provided on that day on exactly when we will

22   complete production.     And we will not try -- there will be

23   no effort to draw this out.      It is a significant amount of

24   material, and the actual function of producing it is

25   time-consuming, the copying and all this stuff.         But
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1    we will -- we understand the Court's desire to get it to

2    them and we will do it -- we will provide a schedule that

3    expedites it and gets it out as quickly as we can.

4               And so, I mean, that's -- and, I mean, what the

5    plaintiffs are asking for -- I mean, Google has basically

6    all the documents in the case of their own that we are

7    interested in.    And, you know, what they're asking for is

8    this asymmetric production, where we haven't gotten -- we

9    have things that we want from them that we will have to wait

10   in discovery and that's sort of the process.

11              But we will represent that --

12              THE COURT:    Sure.

13              No, you're right in a sense.

14              On the other hand, you know, this is not the

15   typical civil case in the sense that the government has had

16   the opportunity to -- has had a head start in collecting

17   relevant material.    And there may be more you want, but, you

18   know, this isn't like a typical civil case where everybody

19   starts with the discovery process at the same time.

20              MR. DINTZER:    Fair enough, Your Honor.

21              THE COURT:    But I hear you.    Okay.

22              Mr. Schmidtlein, would you be satisfied -- I mean,

23   look, let me first just say, Mr. Schmidtlein, I'm not going

24   to be a grinch here and require a production within

25   70 days -- I mean -- excuse me, seven days of all this
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1    material right smack in the middle of the holidays.          I think

2    that may be -- if I enter this order on the 21st, that puts

3    it right during the week of between Christmas and New

4    Year's, and I'm not going to do that to anyone.

5               So does the representation satisfy you that on the

6    30th day, that you will start getting these records?          Would

7    that be a fair compromise, if you will, to what you're

8    asking for?

9               I appreciate that you're asking for this material.

10   On the other hand, it's taken a few weeks to get the

11   protective order resolved, and we're certainly on the cusp

12   of opening the faucets of discovery here.

13              MR. SCHMIDTLEIN:      Your Honor, I would ask for an

14   order that the documents begin to be produced no later than

15   January the 15th.

16              THE COURT:    Okay.

17              All right.    Here's what I'll do.

18              MR. SCHMIDTLEIN:      Your Honor --

19              THE COURT:    Yeah.    Go ahead.

20              MR. SCHMIDTLEIN:      Your Honor, if you'll indulge me

21   just for one moment.     And I apologize.

22              Just to revisit one of the earlier issues that

23   I know you gave us your guidance on, but I wanted to ask for

24   one, perhaps, minor kind of clarification or modification.

25              On the 14 hour -- the eight depositions of 14
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1    hours, there are numerous Google executives who were deposed

2    during the course of the investigation.        And as Your Honor

3    may remember from the Sysco case, you actually put some

4    limitations around the timing for additional depositions of

5    people who have already sat for depositions.

6               And what I would ask Your Honor, at the very

7    least, is that the eight individuals who are -- who may be

8    selected for a 14-hour deposition, that those people not

9    include individuals who have already sat for up to a day's

10   long deposition during the course of the investigation.

11              THE COURT:    Well, let's -- can we just put a pin

12   on that for a second, Mr. Schmidtlein?

13              Let me just resolve this issue with respect to the

14   disclosure of the material that's identified in paragraph 7

15   and then we can talk about the issue you've raised.

16              So here's what we'll do.      I will -- I want to ask

17   you all to revise paragraph 7 to sort of essentially reflect

18   the following; one is, that the government -- that the

19   plaintiffs, by January 15th, begin to produce the material

20   that's identified in that paragraph, and that you should

21   include some clause in the paragraph that says words to the

22   effect of that the plaintiffs are not required to produce

23   material as to which they have an objection.        So, you know,

24   for example, that first sentence could have a clause at the

25   very end of it that says, comma, "except such materials as
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1    to which plaintiffs have an objection to production."

2               And so I think that at least gets the ball rolling

3    in terms of these investigative materials, and the

4    government has already said it's starting to collect them.

5    I think this gets us past the holidays.        And I am anxious to

6    get these documents in the hands of the defendant so that we

7    can get started and they can get started processing and

8    reviewing the material and then we can get started moving

9    forward, okay?    So I think that resolves that issue.

10              Then let's turn back to the issue that Mr. --

11              MS. BLIZZARD:    Your Honor?

12              THE COURT:    Yes.

13              MS. BLIZZARD:    Your Honor, this is Paula Blizzard

14   from California again.

15              So for California, Wisconsin, and Michigan, since

16   we are just entering today, presuming you order our joinder

17   to the case, we have yet to do our initial disclosures, we

18   have yet to notify third parties that may be in our

19   investigative file.

20              So we would propose that we meet and confer with

21   Google and try and work out a separate schedule.         But we

22   would not -- I do not think we would be able to meet what

23   you're proposing here, because we have not -- we're just

24   starting as of today.

25              THE COURT:    Well, Ms. Blizzard, maybe I'm not
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1    following.

2               I mean, do you think the three new states that are

3    joining this action will have disclosures to make that have

4    not already been made -- initial disclosures to make that

5    have not already been made by the Department of Justice and

6    the states that are part of this from the get-go?

7               MS. BLIZZARD:    On behalf of California, we may,

8    Your Honor.

9               We had a separate investigation.       And there may be

10   a great deal of overlap, but there may be some differences.

11              I'm not yet privy to the initial disclosures that

12   have been made by U.S. DOJ in this case, so I can't say for

13   sure.   But I can say I know we have a separate investigative

14   file.   And we will, of course, be reviewing and producing,

15   as appropriate, but that will have to -- that process will

16   have to start and we may have different initial disclosures.

17              THE COURT:    And what about Michigan and Wisconsin?

18              MS. COOLEY:    Your Honor, this is Gwendolyn Cooley

19   from Wisconsin.

20              We will more than likely not have additional

21   initial disclosures than the U.S. Department of Justice.

22              THE COURT:    Okay.

23              MS. COOLEY:    So we should be able to meet a

24   January 15th beginning-production schedule.

25              THE COURT:    Okay.
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1               MR. NAOUM:    Your Honor, this is Wisam Naoum for

2    the State of Michigan.

3               We are similarly situated to the State of

4    Wisconsin.

5               THE COURT:    Okay.

6               So does sort of a minor modification of

7    paragraph 7 to simply include a parenthetical that -- where

8    it says "plaintiff shall produce" and simply to sort of

9    include a parenthetical that says, "except the State of

10   California"?

11              MS. BLIZZARD:    That's fine, Your Honor.

12              THE COURT:    Mr. Schmidtlein?

13              MR. SCHMIDTLEIN:      That's fine, Your Honor.

14              THE COURT:    Okay.

15              All right.    So let's just include that in there

16   and then I'll -- we'll have Google and California sort of

17   meet and confer.    And to the extent that there's -- they

18   need to work out a schedule, they will, and can submit

19   something to me to memorialize that schedule until

20   California can get on the schedule that's set forth in the

21   Case Management Order.

22              Okay.

23              MS. BLIZZARD:    Thank you.

24              THE COURT:    In terms of the witnesses and those

25   witnesses that have -- are subject to the 8-hour
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1    depositions -- excuse me, the 14-hour depositions, I guess,

2    Mr. Schmidtlein, my reaction is this:

3               If there -- I don't think the fact that I have

4    allowed eight witnesses to be designated for 14 hours

5    necessarily forecloses objections by Google as to the

6    designation of those people for 14 hours.

7               And so I'm a little bit reluctant to make any

8    sweeping rules now as to who can be subject to those longer

9    depositions.   And if it turns out that is there folks who

10   are designated, who were also -- who also sat for

11   investigatory depositions, then Google can raise those

12   concerns with me in the future.

13              But I'm not sure I want to constrain the selection

14   of those eight people now without necessarily allowing --

15   well, I don't want to constrain the selection of those eight

16   people now, and you'll still have the opportunity to object

17   if you think a selection of somebody who's already sat is

18   overly burdensome and unfair to that person, okay?

19              MR. SCHMIDTLEIN:     Thank you, Your Honor.

20              THE COURT:    All right.

21              So I think that addresses sort of the three

22   disputed issues that the parties had.

23              Just a few other issues and really mainly

24   observations, from my perspective.

25              One is, in paragraph 8, you all have identified
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1    the number of witnesses as 50.      It sort of took my breath

2    away, but it's early enough that I didn't completely faint.

3    But, you know, obviously as we get closer to the trial,

4    we'll have to see whether that number makes sense and, in

5    fact, ought to be less than 50 per side.        I understand

6    that's just -- those designated and there may be fewer

7    called at trial, but we'll have to look at those numbers as

8    we get closer to trial.

9               Let's talk about dispute resolution.        And this is

10   in paragraph 16.

11              You all have sort of crafted this in a way that

12   speaks generally to discovery disputes.        But then also it

13   really seems to provide a procedure that's only specific to

14   discovery disputes that arise during a deposition.         That

15   first and second sentence -- the first sentence obviously

16   includes a meet-and-confer, but then the second sentence

17   refers to disputes during a deposition and then presenting a

18   motion to the Court within two business days of the close of

19   the deposition.

20              Here's what I'd like to do.      Let me first make the

21   following observation, which is that, I am -- I'm

22   disinclined at this point to appoint a Special Master.            And

23   the reason is that, I found in Sysco -- and it was obviously

24   a much faster moving case and so it probably called for --

25   I felt that if by being involved in disputes concerning
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1    discovery throughout the course of the case it brought me

2    closer to the issues and better prepared me to sit as the

3    trier of fact, and I feel the same way here.

4               Now, I may be Pollyannish here in my hope that I

5    wouldn't be overwhelmed by discovery issues.        And if it

6    comes to that, then I may have to adjust.        But my current

7    thinking is, I would prefer not to have a Special Master

8    resolve discovery disputes in the first instance.

9               And so what I propose in terms of discovery

10   disputes is sort of a two-track system.        The first track

11   will be as follows, which is:      If there are emergent

12   discovery disputes, disputes that need to be resolved in a

13   short amount of time, that what you all should do is contact

14   my law clerk, sort of outline for her what the discovery

15   dispute is, and then we can figure out whether it requires a

16   hearing or requires something in writing in short order that

17   I need to consider.

18              If it's not an emergent dispute, what I plan on

19   doing in this case, as I did in Sysco, is having relatively

20   frequent status hearings every 30 days to touch base with

21   the parties and see how things are progressing, and that

22   would also be another opportunity for parties to raise

23   discovery issues at those hearings.

24              If there is, as I said, a need to raise discovery

25   disputes before the next status hearing that gets scheduled,
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1    then, by all means, you all ought to contact chambers and we

2    can get something down on the calendar.

3                But I want to try and be fairly responsive to your

4    discovery disputes and I want to take out the additional

5    layer of having a Special Master.       And given the schedule,

6    which I'm about to talk about, hopefully this can provide

7    some degree of efficiency by having me resolve these

8    discovery disputes as they arise.       I hope I'm not

9    overwhelmed with them, but we'll just have to see if it

10   plays out that way, okay?

11               Any thoughts or questions about that?

12               MR. DINTZER:   This is Kenneth Dintzer, Your Honor.

13               All that sounds very helpful, and we appreciate

14   that.

15               The only question I would have about that is, is

16   on the question of emergent issues, I've had courts and

17   judges go different ways on this:       If there's an issue that

18   arises in a deposition, would the Court consider that

19   emergent?    As in, you know, a witness won't answer a

20   question or there's an issue that needs to be resolved

21   before the deposition can materially go forward.         Would you

22   prefer the parties do what we described in our draft, which

23   is, you know, make the record and then adjourn and seek the

24   Court's help, or would you prefer that we reach out to the

25   Court during the deposition?
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1                THE COURT:   Well, what I would like to avoid is

2    phone calls during depositions.

3                MR. DINTZER:   Okay.

4                THE COURT:   You know, I think you all ought to

5    make your record and then meet and confer; and if it needs

6    to be raised with me, it needs to be raised with me.

7                But, you know, I'd like to avoid calls during the

8    middle of a deposition.     I find that those are usually are

9    calls that need not be made to a judge in the heat of the

10   moment.

11               MR. DINTZER:   Understood.

12               THE COURT:   So with that said, on the other hand,

13   you've got the example of a deposition that you know is

14   upcoming.    There's an area of inquiry that both sides think

15   might be the subject of dispute.       And in that instance, if

16   you think it's a significant enough issue that you want to

17   raise prior to the deposition, then I think that would

18   qualify as an emergent issue.

19               I mean, look, some of this is going to be -- we'll

20   have to see how this all plays out.       But like I said, I'd

21   like to keep this on two tracks or two categories and like

22   to try and resolve as many of these as I can on my own,

23   rather than handing it off to someone else.

24               MR. DINTZER:   Understood, Your Honor.      That's very

25   helpful.    Thank you.
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1               THE COURT:    Okay.

2               Mr. Schmidtlein, any thoughts or reactions to all

3    of that?

4               MR. SCHMIDTLEIN:      No.   All that sounds agreeable

5    to us.   Thank you, Your Honor.

6               THE COURT:    Okay.

7               All right.

8               MR. DINTZER:    Your Honor, just on that, is there

9    something you want us to do with paragraph 16 then or is

10   that -- and maybe you were just about to get with that.           But

11   in line with what you said, you want us to leave that and

12   understand that's the Court's procedure, or do you want us

13   to try to craft something that mirrors that in paragraph 16?

14              THE COURT:    I think you all can leave it as is and

15   we can proceed with the understanding of how I've described

16   how things ought to move forward.

17              MR. DINTZER:    Understood.

18              THE COURT:    All right.

19              So let's talk about the schedule.       And let me just

20   say at the outset, the proposed schedule is acceptable to

21   me.

22              And, look, you know, every federal judge or any

23   judge that's involved in a case like this recognizes that

24   the schedule at the outset oftentimes is more often than not

25   the schedule -- is not the schedule that actually comes to
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1    fruition.

2                But, you know, by my back-of-the-envelope efforts

3    here, it looks like that you all have contemplated that

4    discovery would -- fact discovery would end after 456 days,

5    which would put us on March the 22nd of '22 -- 2022.          That's

6    assuming I enter this on Monday.

7                The close of expert discovery would come after

8    that, I think, about 105 days, if my math is right,

9    September 23rd of 2022.

10               And then the close of summary judgment briefing

11   and Daubert motions would be in January of -- early January

12   of 2023.    So, you know, if anybody thought we would be

13   getting to trial quickly, this certainly will dispel that

14   notion fairly soon.

15               But I want to just -- you know, to the extent that

16   you all have had thoughts about this, I would be curious

17   what your thoughts are in terms of length of trial and what

18   you all envision when trial would take place.

19               I mean, if all goes according to plan, we'll

20   finish all discovery in the first quarter of 2023.         It,

21   obviously, will take me some time to think about the motions

22   and resolve them.    And so it seems to me that maybe we're

23   looking at late summer/early fall of 2023 for a trial,

24   potential trial.

25               MR. SCHMIDTLEIN:    Your Honor, this is
     Case 1:20-cv-03010-APM Document 88 Filed 12/22/20 Page 49 of 82

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1    John Schmidtlein.

2               I think that was our thinking, that we were

3    probably looking at realistically sort of no earlier than

4    the fall of 2023.

5               MR. DINTZER:    This is Kenneth Dintzer.

6               And I echo Mr. Schmidtlein's comments, that no

7    earlier than that, that that's probably about a good target

8    date.

9               THE COURT:    Okay.

10              Well, let's do the following:       Let's open up our

11   calendars to the fall of 2023, to a presumptive date, and

12   make sure you all are available.

13              How about September 11?      That's not the most

14   auspicious of days.     How about September 12th just as a date

15   to have on everyone's calendar for the start of trial?

16              MR. DINTZER:    That would work for the

17   United States and the states, Your Honor.

18              MR. SCHMIDTLEIN:      That'll work for Google as well.

19   Thank you, Your Honor.

20              THE COURT:    Okay.

21              I guess the last -- and you both tell me if you

22   think this would be helpful; I mean, it would be to me.

23              But if in the Case Management Order, the schedule

24   that begins on -- the two-column schedule that begins on

25   page 4, now that we've sort of talked about dates and the
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1    like and, I think, anticipate entering this schedule on

2    Monday, to have a third column that actually identifies the

3    date, I think, would be helpful to everyone just to actually

4    have concrete dates in the Scheduling Order.        And then if

5    those dates need to be moved, we can do that in the future

6    by just adding a third column that corresponds to the

7    timeline you all have put forward would be helpful.

8               MR. DINTZER:    We'll do that, Your Honor.

9               THE COURT:    All right.

10              And then the last thing before we turn to the last

11   two issues that I have on my -- let's just pick a date for

12   our next status hearing in this case.

13              So I put down the 15th of January as a date on

14   which the first set of disclosures will happen.         So if

15   everybody is available on January 21st at 11:00 a.m., does

16   that work for everyone?

17              MR. DINTZER:    That works for the plaintiffs,

18   Your Honor.

19              MR. SCHMIDTLEIN:      Yes, Your Honor, that works for

20   Google.

21              THE COURT:    Okay.

22              And just for everyone's planning purposes, we'll

23   continue to do this by telephone or video for the

24   foreseeable future.

25              And then certainly, I think, you know, as -- as,
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1    hopefully, we sort of return to some normalcy and it's safe

2    to return to the courthouse, we can talk about whether it

3    makes sense to bring folks back into the courthouse.

4    Obviously, those counsel who are in the various states would

5    not need to physically appear and we can make those

6    accommodations.    But we can take that as it comes.

7               I mean, I think judges across the country are

8    becoming more flexible and would be more flexible in terms

9    of remote appearances and remote hearings.        And I'll

10   certainly do that in this case.      Counsel for the DOJ and

11   Google are here and so maybe there will be some benefit to

12   having everybody come into the courthouse, at least those

13   parties come into the courthouse.       But we can talk about

14   that down the road.

15              All right.    The last couple issues on my agenda

16   here are the motions for intervention by California,

17   Michigan, and Wisconsin.     Google has responded to those

18   motions, and so I'll go ahead and grant those later today.

19   So those three states will be added as plaintiffs and I will

20   ask the parties to modify the Scheduling Order and the

21   protective order accordingly.

22              And then the same is true with the complaint.          So

23   that the complaint -- there's an amended complaint that

24   reflects the admission of those three states, and then

25   obviously Google can answer in due course.
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1               Well, let me think about that.       Your answer for

2    the current complaint is due on the 21st, correct?

3               MR. DINTZER:    That's correct, Your Honor.

4               THE COURT:    Okay.

5               So let's go ahead and answer the original

6    complaint on the 21st, consistent with the schedule.          And,

7    you know, you all can modify the complaint to add the new

8    states -- is it realistic to get that done by next

9    Wednesday, the 20th?

10              MS. BLIZZARD:    Your Honor.

11              THE COURT:    I'm sorry, Wednesday -- I'm sorry,

12   Wednesday, the 23rd.

13              MS. BLIZZARD:    Your Honor, Paula Blizzard from

14   California.

15              We had proposed in our proposed order, and

16   I believe Google agreed with this, that we wait to actually

17   amend the complaint until the date in the Scheduling Order

18   for amendments, the last day to add parties, that's

19   January 15th.

20              THE COURT:    Oh.

21              MS. BLIZZARD:    And then we only have to do it

22   once.

23              THE COURT:    Okay.

24              MS. BLIZZARD:    If that's acceptable to Your Honor.

25              THE COURT:    That's fine.
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1               That's fine.    I may have missed that.      I'm sorry.

2    That makes perfect sense to me, rather than having to rush

3    this and do this every time there's a new state that wants

4    to join.

5               MS. BLIZZARD:    Okay.

6               THE COURT:    All right.

7               So that's all I wanted to raise with respect to

8    this case.

9               So before I turn to the newly filed action, let me

10   turn to plaintiffs and Google and see if there's anything

11   else you all want to raise.

12              And so the Case Management Order, if you all would

13   just get me a final version of that by Monday at noon as

14   well, I can get that signed and entered by Monday afternoon.

15              MR. SCHMIDTLEIN:     Yes, Your Honor.    We will do

16   that.

17              One issue I did want to raise now that we have a

18   protective order in place.

19              When the parties exchange their initial

20   disclosures, the plaintiffs provisionally designated their

21   initial disclosures as outside-counsel only.        I candidly

22   don't see any reason why initial disclosures should be kept

23   from my client at this point.       And so I guess I would like

24   some clarification or guidance, now that we have a

25   protective order in place, I would like to be able to share
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1    the initial disclosures with my client, candidly, without

2    any limitations; I don't see why there should be any

3    limitation on my ability to discuss those with the client.

4                THE COURT:   Mr. Dintzer, Mr. Greene, any objection

5    to allowing Mr. Schmidtlein to share the initial disclosures

6    with in-house counsel?

7                I guess the question I should ask,

8    Mr. Schmidtlein:    Are you proposing that that would be

9    shared only with the two designated in-house lawyers or it

10   be made available more widely than that?

11               MR. SCHMIDTLEIN:     I would like to make it

12   available more widely than that, Your Honor.        In part

13   because, just as a practical matter, you know, if there's a

14   person or an entity that's been identified in the initial

15   disclosures, I'm going to need to potentially do some

16   internal evaluation, gather documents, get information about

17   that party or entity, sort of discuss these folks with my

18   client.    And sort of not being able to give some context

19   around why I'm making that disclosure or making that request

20   is -- puts me in a bit of an awkward situation.

21               THE COURT:   Sure.

22               Mr. Dintzer and Mr. Greene, thoughts?

23               MR. DINTZER:   Yes, Your Honor.     This is Kenneth

24   Dintzer.

25               Just to clarify what counsel has described, the
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1    Court had ordered that the initial disclosures were

2    attorneys' eyes only.      And we took the position that until a

3    protective order was issued, that that meant outside

4    counsel's eyes only.

5                And now that the protective order will be issued

6    and we have a definition of what "highly confidential" is

7    and we have that defined, we don't have any or take any

8    position on there being a limit to them sharing that

9    internally.    If one of the third parties would seek to do

10   that, that would be on them, but we don't take that

11   position.

12               THE COURT:   Well, I guess the question is, will

13   you designate any portion of it as confidential?         Because

14   I think the way things work now, you know, the way

15   confidential -- I mean, in-house counsel that are designated

16   can look at confidential material.       What Mr. Schmidtlein is

17   saying is that he would like to present these initial

18   disclosures to more than just the two folks who are

19   designated, and we're still a few days away from the

20   finalization of those two people.

21               MR. DINTZER:    I'm sorry, Your Honor, I misspoke.

22               It is not our intent to designate them at all.

23               THE COURT:   All right.    Fine.

24               All right.   Does that take care of the issue for

25   you, Mr. Schmidtlein?
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1               MR. SCHMIDTLEIN:      It did, Your Honor.    Thank you.

2               THE COURT:    Okay.    Good.

3               All right.    Let's talk, then, about this new

4    action.   I think some of the counsel from that action are on

5    the phone.   That was filed yesterday.      And with that

6    complaint was filed a related-case notice, and so that

7    matter is now before me and a motion to consolidate.          Google

8    had indicated that it wanted to review the complaint before

9    it took a position on consolidation.

10              So, Mr. Schmidtlein, let me ask you what your

11   thoughts are in terms of the schedule and a response, both

12   in terms of the motion to consolidate and your thoughts

13   about, to the extent that you have them formed at all,

14   answer and moving.

15              I will tell you that it won't come as a surprise,

16   that to the extent that on the assumption that that case

17   remains with me, you know, I certainly would be anxious to

18   get the two cases moving along the same tracks in terms of

19   discovery and so that we can think about optimizing

20   discovery efforts and reducing the inefficiencies between --

21   particularly when it comes to depositions and so folks only

22   have to sit through one deposition for both cases.

23              MR. SCHMIDTLEIN:      Thank you, Your Honor.

24              I caveat this is a little bit with, I've had the

25   complaint for less than 24 hours, as has my client.          But
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1    I think what we can say today, I think, will address your

2    issues.

3               One, we are certainly not going to object or

4    suggest that this newly filed case should not be related and

5    assigned to Your Honor.     It should be assigned to

6    Your Honor.

7               In terms of consolidation, I think the case

8    absolutely should be consolidated for purposes of discovery.

9               The question of whether the case should be

10   consolidated for trial, I just don't have a position on that

11   at this moment.    I think there's obviously going to be a lot

12   of things that happen in this case between now and when we

13   get to any trial.

14              And, you know, the extent to which there are any

15   claims left, there is -- you know, what evidence, if any, is

16   permitted to go forward as to any of those claims, you know,

17   there's a lot of open issues and how that -- what makes

18   sense at a trial right now vis-à-vis this new complaint,

19   I don't have a position from my client on that.

20              But I don't know that Your Honor needs to take a

21   position on that today or in the immediate future.         I think

22   what you've laid out we agree with 100 percent, which is, we

23   should try to get this case on the same schedule, to the

24   extent that makes sense, and it certainly should be

25   consolidated and coordinated for purposes of discovery.
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1               THE COURT:    Okay.

2               And so what are your thoughts -- again, I know you

3    are only with this for 24 hours.       And I've very quickly

4    skimmed the new complaint.       And what it at least in part

5    does is incorporates the allegations in the DOJ sort of in

6    the first lawsuit in which the United States is the lead

7    plaintiff, and Google didn't move to dismiss that complaint.

8               Do you have thoughts?      Because obviously -- and

9    this isn't -- don't take this as a suggestion, but if Google

10   doesn't move to dismiss, then we can obviously get this

11   second case on its way to discovery sooner than if it does

12   move to dismiss the case.

13              MR. SCHMIDTLEIN:      Your Honor, I do not have

14   direction from my client at this moment on that issue, but

15   it is one that we are obviously beginning to think about.

16   And as I did before, we have executed a waiver of summons.

17   So I believe our answer date is something, I think,

18   approximating February the 15th.

19              But as I did before, I will certainly commit to

20   this Court to providing some notice, you know, well before

21   that date.

22              And I think it probably makes sense -- what I

23   would suggest is that you order the parties to make --

24   certainly the new plaintiffs -- to make their initial

25   disclosures promptly so that as we are evaluating our motion
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1    issue, we can also begin evaluating the extent to which the

2    existing schedule that we've spent a number of weeks

3    negotiating with our colleagues from the first case, the

4    extent to which it makes sense and it's feasible to try to

5    put this new case on that same schedule or whether some

6    slight modification of that schedule would be in order.

7               THE COURT:    And do you have a thought on a date by

8    which -- I mean, you were, I think, sort of very -- I'm

9    thinking forward in a light of -- positively in terms of a

10   date in the last -- in giving me a date by which you could

11   have an answer on the question of moving or answering,

12   do you have a date in mind today?

13              MR. SCHMIDTLEIN:      January the 8th.

14              THE COURT:    Okay.

15              And --

16              MR. SCHMIDTLEIN:      And I would do it sooner but for

17   the holidays, Your Honor.

18              And before -- if I have -- if we make a

19   determination in advance of that date, we will make an

20   effort to file that notice with you before January the 8th.

21              THE COURT:    And in terms of initial disclosures,

22   what do you have in mind in terms of -- and, again, this

23   would be a mutual exchange of initial disclosures; it

24   wouldn't simply be from the new plaintiffs.         So on the

25   theory that we ought to at least start pushing that case
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1    along, what's a reasonable date, given all the other demands

2    on your time?

3               MR. SCHMIDTLEIN:      January the 8th would be

4    acceptable to Google.

5               THE COURT:    Okay.

6               All right.    Well, let me turn, then -- although

7    this case -- we did not notice this for a status hearing in

8    the other case, I believe the counsel for Colorado is on,

9    I don't know which of the AGs would be acting as the lead

10   counsel in this case.     Would it be counsel from Colorado?

11              MR. SALLET:    Yes, Your Honor.     This is Jonathan

12   Sallet with the State of Colorado.

13              We have counsel from both Colorado and Nebraska,

14   who are the lead plaintiffs.       But I do want to emphasize, of

15   course, that our coalition includes 38 states, territories,

16   and the District of Columbia will be proceeding in an

17   effective manner to make our joint positions known to the

18   Court so that we can move forward.

19              THE COURT:    Are you in a position to provide

20   initial disclosures by January the 8th?

21              MR. SALLET:    I think not, Your Honor.

22              As we looked at the schedule that operated for the

23   DOJ initial disclosures, my recollection is that that took

24   place 30 days after the filing of the Department of

25   Justice's complaint.     And here, as counsel and Your Honor
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1    have already noted, we are entering a holiday period.             So we

2    don't think January 8th gives us an equivalent amount of

3    time.

4               But I do want to emphasize, Your Honor, if I

5    could, slightly broadly and then come back to this:          We are

6    not here to reinvent the wheel.      We know that substantial

7    work has been ongoing.     We hope to join as seamlessly and to

8    proceed as expeditiously as we can.

9               And to that end, we propose that we would meet

10   with Google and propose a schedule, what we might call a

11   catch-up schedule, right?     In other words, we know that

12   there are some pieces that are going to ride behind simply

13   because of the difference in the dates of the filing.

14              But we want to get to the kind of outcome that

15   both Your Honor and counsel have described, which is on the

16   same schedule as the DOJ complaint.       And we think if we

17   conferred with counsel, we could come up with a set of dates

18   that would do that, understanding, of course, that we'll

19   know more on January 8th when Google tells us how it wishes

20   to proceed with responsive pleadings.

21              THE COURT:    Okay.

22              Well, I think here's what I want to do.        I want

23   to -- first, let me say this:      I appreciate the sentiment

24   expressed of wanting to meet and confer with counsel to try

25   and catch up with the DOJ action.       You know, I think it's in
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1    everyone's interest to try and get these cases moving in

2    lockstep as quickly as possible.

3               That said, you know, Google's committed to January

4    the 8th as the date by which it will advise me whether it's

5    going to move to dismiss or answer the complaint, and

6    so I think a similar date certain for those initial

7    disclosures would be helpful.

8               And if that date is a little too early given the

9    holidays, 30 days is about January 15th.        So let's actually

10   kick it out a few days.     So let's have the initial

11   disclosure date being January 20th in the second case; we'll

12   just call it the Colorado-Nebraska case.

13              And that Colorado-Nebraska case ought to also

14   appear for a status hearing on January the 15th.         And

15   hopefully by then, you all will have had a chance to talk

16   amongst yourselves.     You'll know what Google intends to do

17   in terms of moving or answering.       And hopefully by then, you

18   all will have talked amongst yourselves in terms of the

19   schedule and getting up to speed on where things stand and

20   we can talk about that on the 15th.

21              And actually it would be helpful to me if you can

22   put something in writing -- this is in the Colorado case --

23              MR. SALLET:    Yes, sir.

24              THE COURT:    -- by the 13th, if the parties would

25   just file something jointly, to the extent you have all
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1    reached any agreements or if there are any disagreements, if

2    you could commit to those to writing by the 13th, there may

3    be something we can talk about on the 15th.

4                MR. SALLET:    Yes, Your Honor.

5                So this is Jon Sallet again.

6                Just for my clarity.      So on January 13th, whatever

7    we can work out on the kind of catch-up schedule that we've

8    suggested is what Your Honor would like?        Do I have that

9    right?

10               THE COURT:    Yes, in writing.

11               And then we can discuss it on the 15th.

12               MR. SALLET:    Yes.

13               MR. SCHMIDTLEIN:      Your Honor, this is

14   John Schmidtlein.

15               And perhaps I misheard you.      I thought that you

16   had set the next status conference for January the 21st, not

17   the 15th.

18               THE COURT:    Oh, did I -- I'm sorry.     I misspoke.

19               If I said the 21st, that's what I meant.       If I

20   said the 21st for the hearing, that's what I meant to say.

21               MR. SCHMIDTLEIN:      Okay.

22               THE COURT:    I meant to certainly have that hearing

23   in about 30 days.

24               So yes, January 21st for the hearing; I think we

25   said 11:00 a.m.
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1               And so in terms of the submission -- let me revise

2    what I just said then:     In terms of the submission between

3    Google and the Colorado and Nebraska case, I'll just ask you

4    all for something in writing by the 19th, not the 13th, and

5    that'll still keep the initial disclosure exchange to happen

6    on the 20th.

7               MR. SCHMIDTLEIN:      Thank you.

8               THE COURT:    Okay?

9               All right.    Anything else anybody wants to raise

10   before we adjourn?

11              MR. PARKER:    Yeah, Your Honor --

12              Yeah, Your Honor, this is Rich Parker.

13              We're talking about the initial disclosures and

14   the highly confidential.

15              The third parties, at least the ones I'm working

16   with, have not seen those.       And we will try to work out a

17   procedure with the DOJ and with Mr. Schmidtlein to get

18   involved as to whether there's highly confidential

19   information there.    And we'll try to do that informally.

20   But I just wanted to flag that.

21              THE COURT:    Okay.

22              Well, I mean, you know, if the third parties want

23   to be heard on this, then I would urge DOJ to share its

24   initial disclosures, frankly, as soon as today, with

25   Mr. Parker so that you can begin that process, because I'm
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1    intending to enter this protective order on Monday and

2    I know Mr. Schmidtlein is anxious to share the initial

3    disclosures with his client.

4               MR. DINTZER:    We will do that, Your Honor.

5               MR. PARKER:    And we will proceed expeditiously,

6    Your Honor.

7               THE COURT:    Okay.

8               All right.

9               MR. SALLET:    Your Honor, this is Jonathan Sallet

10   again.

11              As you've outlined, and, of course, works for us,

12   the one point I might note is that we have, of course,

13   followed the Scheduling Order and we followed the protective

14   order.   To the ex -- I think it's understood that, as we

15   have a joint discovery process, those orders would apply to

16   us.

17              We will undertake to confer with parties and third

18   parties as necessary.     It is possible we ask for minor

19   modifications.    I have none in mind, and it may be that

20   there are none at all.

21              But if those orders are to apply to us, then we

22   would appreciate the opportunity to advise the Court as to

23   whether we have any specific views as to them.         I don't mean

24   by that to hold up the signing of the orders next Monday or

25   the initiation of work under those orders, but simply to
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1    note that we would like the opportunity to confer with

2    parties and offer any views we have on them to the Court.

3               THE COURT:    So I appreciate you raising that.

4               I think, look, my intention is as follows:         The

5    entry of the order on Monday will only apply to the

6    initiation of discovery in U.S. versus Google.         You all, in

7    the Colorado matter, meet and confer with Google, think

8    about whether any -- both about the schedule and whether you

9    think any modifications are appropriate.

10              I'll hold off on entering a consolidation order

11   with respect to discovery until I hear further from you all.

12   But if there's no objection to the scope or the terms of the

13   protective order, then what I would propose to do is simply

14   enter an order consolidating discovery and then subject all

15   of the parties in the Colorado case to the protective order

16   that's been formulated in the U.S. v. Google case.         Does

17   that make sense?

18              MR. PARKER:    Yes, Your Honor.

19              And I think we --

20              THE COURT:    Okay.

21              And --

22              MR. PARKER:    Sorry.

23              And I think we understand the -- sorry.

24              THE COURT:    And -- hang on.

25              So those initial disclosures until the protective
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1    order issue is finalized in the Colorado case, you know,

2    those will be attorneys'-eyes-only exchanges, in the same

3    way that we had those exchanges made in the U.S. case.

4               MR. PARKER:    Yes, Your Honor.

5               And that works for us, as does the date of the

6    initial disclosures.

7               We will seek a common schedule, that the schedule

8    in the proposed order runs all the way up to trial.          We

9    think having a common schedule would be helpful.

10              But, of course, as discovery goes along and as we

11   get closer to trial, we anticipate parties will address,

12   again, the issue of a common or separate trial.

13              THE COURT:    Sure.   Understood.

14              I guess just one observation for everyone to think

15   about, which is -- and everybody here is in agreement when

16   it comes to discovery and trying to consolidate these cases

17   for discovery:    It seems to me that the thing that will be

18   impacted most by that consolidation is depositions and

19   experts.

20              And so just, obviously, you know, I'll look

21   forward to hearing your thoughts about what this means in

22   terms of number of depositions and also potential witnesses

23   and how it affects sitting for longer depositions than the

24   ordinary seven hours, because I will tell you that what

25   I would like to avoid in this case, and I suspect Google
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1    does as well, which is having to have folks sit for multiple

2    depositions over multiple days.

3               You know, part of consolidating this is to lessen

4    the burden on individuals -- in carrying out these

5    depositions, and everybody ought to be thinking about a way

6    in which we can avoid having someone -- both employees of

7    the company, and, frankly, this extends to third parties as

8    well who may be deposed and experts all being deposed in one

9    shot, as opposed to multiple sessions, okay?

10              MR. PARKER:    Yes, Your Honor, we understand.

11              THE COURT:    All right.

12              Okay.   So we'll get these dates committed to the

13   dockets in both cases.

14              We'll look forward to getting the final PDFs, both

15   on the protective order and the Case Management Order

16   Monday.   We'll get that signed and entered, and then

17   everybody will be off to the races.

18              I think the one thing I asked but I maybe didn't

19   get a chance to have everybody answer in the U.S. v. Google

20   case -- and, Counsel -- and I think I had asked you what

21   your thoughts are in terms of length of trial, to the extent

22   that you have them -- and I'm not asking anybody to commit

23   to anything, but to the extent either side has a thought on

24   length of trial, I'm just curious as to what you think it

25   is.
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1                MR. DINTZER:   This is Kenneth Dintzer from DOJ.

2                Understanding that this is, obviously, very early

3    in the process:    Something between a 10- and 12-week trial,

4    Your Honor.    As I said, very early in the process.

5                THE COURT:   Sure.    Okay.

6                Mr. Schmidtlein, your thoughts?

7                MR. SCHMIDTLEIN:     I would expect that we will, by

8    the time all is said and done here, and, again, this is

9    assuming that there is a trial to be had in this case, it

10   will not take 10 to 12 weeks, Your Honor.        I think it will

11   take -- it should take shorter than that.

12               THE COURT:   All right.    Well, I'm setting the

13   over-under line at five and a half weeks.        So we'll see

14   where we are.

15               All right, everyone.     Have a safe and healthy and

16   joyous holiday season.     Be careful, stay safe, and we'll

17   look forward to talking to everybody after the first of the

18   new year.

19               MR. SCHMIDTLEIN:     Thank you, Your Honor.

20               MR. DINTZER:   Thank you, Your Honor.

21               THE COURT:   Thank you.

22               (Proceedings concluded at 12:34 p.m.)

23

24

25
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                      C E R T I F I C A T E
                I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.
                Please note: This hearing occurred during
the COVID-19 pandemic and is therefore subject to the
technological limitations of court reporting remotely.




Date:__December 22, 2020___       /S/__William P. Zaremba______
                                  William P. Zaremba, RMR, CRR
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